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				IN THE MATTER OF THE REINSTATEMENT OF WILBURN2016 OK 27Case Number: SCBD-6275Decided: 03/07/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 27, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

In the Matter of the Reinstatement of Rhett Henry Wilburn to Membership in the Oklahoma Bar Association and to the Roll of Attorneys.
ORDER
The petitioner, Rhett Henry Willburn (Wilburn/attorney) was stricken from the roll of attorneys from the Oklahoma Bar Association on March 16, 2010, after he was suspended from the practice of law for two years and one day. On June 10, 2015, he petitioned this Court for reinstatement as a member of the Oklahoma Bar Association. 
On September 2, 2015, a hearing was held before the Trial Panel of the Professional Responsibility Tribunal and the tribunal recommended that the attorney be reinstated with conditions. Upon consideration of the matter, we find:


1) The attorney has met all the procedural requirements necessary for reinstatement in the Oklahoma Bar Association as set out in Rule 11, Rules Governing Disciplinary Proceedings, 5 O.S. 2011, ch.1, app. 1-A. 
2) The attorney has established by clear and convincing evidence that he has not engaged in the unauthorized practice of law in the State of Oklahoma. 
3) The attorney has established by clear and convincing evidence that he possesses the competency and learning in the law required for reinstatement to the Oklahoma Bar Association. 
4) The attorney has established by clear and convincing evidence that he possesses the good moral character which would entitle him to be reinstated to the Oklahoma Bar Association. 


IT IS THEREFORE ORDERED that the petition of Rhett Henry Wilburn for reinstatement be granted with the following conditions applied for two years following reinstatement: refraining from the use of alcohol or any illegal substance; participation in the Lawyers Helping Lawyers Committee; continued attendance at Alcoholics Anonymous meetings at least once a week; and independent verification to be provided to Lawyers Helping Lawyers regarding his AA attendance. The costs associated with these proceedings, in the amount of $1839.80 shall be paid monthly at a rate of $153.00 beginning in the month of reinstatement until paid in full.
DONE BY ORDER OF THE SUPREME COURT THIS 7TH DAY OF MARCH, 2016.
/S/CHIEF JUSTICE
REIF, C.J., KAUGER, WATT, WINCHESTER, EDMONDSON, and COLBERT, JJ., concur.
COMBS, V.C.J., TAYLOR, (by separate writing), GURICH, JJ., dissent.
TAYLOR, J., with whom COMBS, V.C.J., joins, dissenting:
The law requires that the Respondent prove by clear and convincing evidence that he has "stronger proof of qualifications than one seeking admission for the first time." (Rule 11.4 RGDP)
This Respondent's application for reinstatement should be denied. His qualifications are not stronger than one seeking admission for the first time.




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